                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:06CR256-6


UNITED STATES OF AMERICA,                         )
                                                  )
Vs.                                               )              ORDER
                                                  )
TIMOTHY OLEN MORRIS,                              )
                                                  )
                  Defendant.                      )
________________________________________          )


       THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a motion filed by defendant’s counsel on November 21, 2006 entitled, “Motion

for Bond Hearing”(#52) and it appearing to the court at the call of this matter on for hearing

that the Government was present through Assistant United States Attorney, Corey Ellis, and

the defendant was present with his counsel, Reid G. Brown, and it appearing to the court

from the records in this cause that on October 23, 2006 that the defendant waived the

detention hearing and requested that his detention hearing be continued for hearing at a later

time. Thereafter, on November 21, 2006 the defendant requested that a detention hearing be

scheduled. At the call of this matter on for hearing, the defendant requested that his motion

for a hearing regarding terms and conditions of pretrial release be continued so that the

defendant could attend and complete the Jail Based Inpatient Treatment Program. It

appearing to the court that the Government had no objection to such motion.

                                          ORDER

       WHEREFORE, IT IS ORDERED that the defendant’s “Motion for Bond Hearing”

(#252) is hereby CONTINUED and it is further ordered that the Order of Detention Pending
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Trial entered in this matter on October 23, 2006 is hereby AMENDED to provide that

defendant will be allowed to attend and complete the Jail Based Inpatient Treatment Program

and at that time, defendant’s counsel will be allowed to file a motion requesting that the court

reconsider the issue of the pretrial release of the defendant.




                                               Signed: January 5, 2007




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